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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                      Western District
                                                  __________  District of
                                                                       of __________
                                                                          Texas


            La Union Del Pueblo Entero, et al.                    )
                             Plaintiff                            )
                                v.                                )      Case No.   5:21-cv-844-XR
                  Gregory W. Abbott, et al.                       )
                            Defendant                             )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Please see attached                                                                                                 .


Date:          10/25/2021                                                                   /s/ John M. Gore
                                                                                            Attorney’s signature


                                                                                        John M. Gore (502057)
                                                                                        Printed name and bar number
                                                                                               Jones Day
                                                                                       51 Louisiana Avenue, N.W.
                                                                                        Washington, D.C. 20001

                                                                                                  Address

                                                                                         jmgore@jonesday.com
                                                                                              E-mail address

                                                                                             (202) 879-3930
                                                                                             Telephone number

                                                                                             (202) 626-1700
                                                                                               FAX number


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I am admitted or otherwise authorized to practice in this court, and I appear in this case as
counsel for:

The Harris County Republican Party, The Dallas County Republican Party, the National
Republican Senatorial Committee, and the National Republican Congressional Committee
